  

ANTICIPATED LENGTH OF TRIAL?: _ 8 _ hours days
Pa PLEADING TYPE
“INew Case: Original OlAdministrative Appeal Appeal
eo Existing Case: OPost-Judgment Amendment

UE filing in an existing case, skip Case Category/ Subcategory section - go to Relief section.

"TORTS

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IN THE CIRCUIT COURT FOR Montgomery County, Maryland

(City or County)
CIVIL - NON-DOMESTIC CASE INFORMATION REPORT
DIRECTIONS

Plaintiff: This Information Report must be completed and attached to the complaint filed with the
Clerk of Court unless your case is exempted from the requirement by the Chief Judge of the Court of
Appeals pursuant to Rule 2-111(a).
Defendant: You must file an Information Report as required by Rule 2-323(h).

THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING

 

 

 

 

 

FORM FILED BY: KIPLAINTIFF ODEFENDANT CASE NUMBER
(Clerk to insert)
Ic ASE NAME: Maryland Shall Issue, Inc., et al. vs. Montgomery County, Maryland
Plaintiff Defendant

PARTY'S NAME: Maryland Shall Issue, Inc. PHONE: 410-849-9197
PARTY'S ADDRESS: 9613 Harford Rd Ste C #1015 Baltimore, MD 21234-2150

PARTY'S E-MAIL: info@marylandshallissue.org
If represented by an attorney:

PARTY'S ATTORNEY'S NAME: Mark W. Pennak PHONE: 20! 8733671
PARTY'S ATTORNEY'S ADDRESS:9613 Harford Rd Ste C #1015 Baltimore, MD 21234-2150
PARTY'S ATTORNEY'S E-MAIL: mpennak@marylandshallissue.org
JURY DEMAND? ElYes OINo

RELATED CASE PENDING? [Yes No If yes, Case #(s), if known:

 

 

 

 

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IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)

 

 

 

CC-DCM_-002 (Rev. 04/2017)

Grabestos oO Government PUBLIC LAW EF Constructive Trust
oe nsurance Attorney Grievance Contempt
Ascqult and B Comercial Product Liability OiBond Forfeiture Remission (J Deposition Notice
Oo Conspiracy PROPERTY . Civil Rights Oo Dist Ct Mtn Appeal
Conversion C1 Adverse Possession OCounty/Mnepl Code/Ord 1 Financial
(J) Defamation Breach of Lease Ci Election Law (4 Grand Jury/Petit Jury
False Arrest/Imprisonment Detinue (Eminent Domain/Condemn.O Miscellaneous
OlFraud P O Dees istrain QlEnvironment (1) Perpetuate Testimony/Evidence
Ol Lead Paint - DOB of a Forcible Entry/Detainer (1) Error Coram Nobis Prod. of Documents Req.
Youngest Pit: Foreclosure C) Habeas Corpus C7) Receivership
Loss of Consortium Cc ial Mandamus Sentence Transfer
50 1 ommercia Cl Prisoner Rights Set Aside Deed
0) Malicious Prosecution Residential . q : (J Special Adm. - Atty
O) Malpractice-Medical Currency or Vehicle Public Info. Act Records [J Subpoena Issue/Quash
Malpractice-Professional © 1 Deed of Trust Quarantine/Isolation (J Trust Established
O Misrepresentation O Land Installments OC) Writ of Certiorari Trustee Substitution/Removal
Motor Tort a Lien EMPLOYMENT Witness Appearance-Compel
Negli ortgage PEACE ORDER
Nuisance Right of Redemption CIADA _ C) Peace Order
Cl Premises Liability C1 Statement Condo Conspiracy EQUITY
[1 Product Liability O Forfeiture of Property / CEEO/HR Al
Specific Performance Personal Item OFLSA Declaratory Judgment
oxic Tort Fraudulent Conveyance OPMLA Oo Equitable Reliet
Trespass O Landlord-Tenant CO) Workers' Compensation C1 Injunctive Relief
Wrongful Death (I Lis Pendens Wrongful Termination Mandamus
CONTRACT O Mechanic's Lien OTHER
Asbestos Ownership INDEPENDENT oOo Accounting
(Breach O Partition/Sale in Lieu © PROCEEDINGS O Friendly Suit
Ot Business and ommercial b Quiet Title C1 Assumption of Jurisdiction 0) Grantor in Possession
Contessed Judgment ent Escrow. © Authorized Sale C1) Maryland Insurance Administration
(Cont'd) Return of Seized Property : Cv;
Cl Construction O Right of Redemption C1 Attorney Appointment Miscellaneous ;
C7 Debt CO) Tenant Holding Over Body Attachment Issuance LI Specific Transaction
O Fraud Commission Issuance 0 Structured Settlements

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IF NEW OR EXISTING CASE: RELIEF (Check All that Apply) |

C1 Abatement Oo Earnings Withholding O Judgment-Interest C1 Return of Property
Administrative Action OEnrollment OJudgment-Summary C1 Sale of Property
Appointment of Receiver O Expungement OLiability O Specific Performance
Arbitration C) Findings of Fact Oral Examination ©) Writ-Error Coram Nobis
Asset Determination Foreclosure Oorder O Writ-Execution

C1 Attachment b/f Judgment El Injunction ClOwnership of Property o Writ-Garnish Property

OCease & Desist Order Ol Judgment-Affidavit  CPartition of Property © Writ-Garnish Wages

CO Condemn Bldg &J Judgment-Attorney Fees Peace Order Oo Writ-Habeas Corpus

Oo Contempt o Judgment-Confessed OPossession O Writ-Mandamus

O Court Costs/Fees CO Judgment-Consent Production of Records ~ WTit-Possession

Damages-Compensatory  Judgment-Declaratory O Quarantine/Isolation Order

Oo Damages-Punitive CJudgment-Default OReinstatement of Employment

If you indicated Liability above, mark one of the following. This information is not an admission and
may not be used for any purpose other than Track Assignment.

CLiability is conceded. ClLiability is not conceded, but is not seriously in dispute. QLiability is seriously in dispute.

 

MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)

 

O) Under $10,000 61 $10,000 - $30,000 C1 $30,000 - $100,000 C Over $100,000

O Medical Bills $ C Wage Loss $ O)Property Damages $
ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 

 

Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)

 

A. Mediation OYes &INo C. Settlement Conference Yes &INo
B. Arbitration DYes KINo D. Neutral Evaluation OYes &INo
SPECIAL REQUIREMENTS

 

Oita Spoken Language Interpreter is needed, check here and attach form CC-DC-041
C1 If you require an accommodation for a disability under the Americans with Disabilities Act, check
here and attach form CC-DC-049
ESTIMATED LENGTH OF TRIAL
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF

 

 

TERIAL. (Case will be tracked accordingly)
0) 1/2 day of trial or less (3 days of trial time
1 day of trial time O More than 3 days of trial time
C2 days of trial time

 

BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM

For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is requested,
attach a duplicate copy of complaint and check one of the tracks below.

 

[ Expedited- Trial within 7 months of 0 Standard - Trial within 18 months of
Defendant's response Defendant's response

 

EMERGENCY RELIEF REQUESTED

 

 

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COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
MANAGEMENT PROGRAM (ASTAR)

 

FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

1 Expedited - Trial within 7 months of ( Standard - Trial within 18 months of
Defendant's response Defendant's response

EF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
PLEASE FILE OUT THE APPROPRIATE BOX BELOW.

CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 

 

 

O Expedited Trial 60 to 120 days from notice. Non-jury matters.
O civil-Short Trial 210 days from first answer.

1 Civil-Standard Trial 360 days from first answer.

O custom Scheduling order entered by individual judge.

C1 Asbestos Special scheduling order.

[Lead Paint Fill in: Birth Date of youngest plaintiff

(1 Tax Sale Foreclosures Special scheduling order.

O Mortgage Foreclosures No scheduling order.

 

CIRCUIT COURT FOR BALTIMORE COUNTY

 

CO Expedited Attachment Before Judgment, Declaratory Judgment (Simple),
(Trial Date-90 days) Administrative Appeals, District Court Appeals and Jury Trial Prayers,
Guardianship, Injunction, Mandamus.

(I Standard Condemnation, Confessed Judgments (Vacated), Contract, Employment
(Trial Date-240 days) | Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
Other Personal Injury, Workers’ Compensation Cases.

{([] Extended Standard Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
(Trial Date-345 days) | Personal Injury Cases (medical expenses and wage loss of $100,000, expert
and out-of-state witnesses (parties), and trial of five or more days), State
Insolvency.

Oo Complex Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
(Trial Date-450 days) Product Liabilities, Other Complex Cases.

 

 

 

 

 

 

 

 

May 28, 2021
Date Signature of Counsel / Party
9613 Harford Rd Ste C #1015 Mark W. Pennak
. euderess Printed Name
Baltimore MD 21234-2150
City State Zip Code

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